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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


     UNITED STATES OF AMERICA,                     )
                                                       Case No. 19cr10080-NMG-4
                                                   )
           Plaintiff,                              )
           v.                                          REQUEST FOR ORAL AGRUMENT
                                                   )
                                                   )
     GAMAL ABDELAZIZ, et al,                           FILED UNDER SEAL
                                                   )
                                                       Motion for Leave to File Under Seal Granted
                                                   )
           Defendants.                                 August 17, 2021

                MOTION TO INTERVENE AND QUASH TRIAL SUBPOENA
                                 (REDACTED)


         Pursuant to Rule 17 of the Federal Rules of Civil Procedure, Pat Haden respectfully moves

to intervene for the limited purpose of asking this Court to quash a trial subpoena for testimony

served on approximately August 10, 2021 by counsel for defendants John Wilson, Marci Palatella,

and Gamal Abdelaziz. Mr. Haden moves to quash the subpoena on the grounds that (1) it seeks

irrelevant testimony; and (2) compliance with the subpoena will unduly burden him. As discussed

below, Mr. Haden was not involved the admission process for any of the students at issue in this

prosecution, has no firsthand knowledge of any of the alleged misrepresentations defendants made

to the University of Southern California, and knows nothing about the defendants’ purported illicit

payments. On the other hand, the prospect of testifying



                                           Background

I.     CHARGES AGAINST DEFENDANTS, LACK OF CONNECTION TO MR. HADEN

       Defendants have been charged in a Fourth Superseding Indictment with conspiring with

William “Rick” Singer” and others to commit fraud, bribery, and money laundering. Defendant

Wilson is also charged with two substantive counts of wire fraud, one substantive bribery count,
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and one tax fraud count. The underlying allegations are that the defendants falsely presented their

children to university admissions departments as legitimate athletes, and induced athletic

department officials to recruit their children using quid pro quo payments. There is no allegation

that Mr. Haden, who was athletic director at USC from August 2010 to June 2016, knew anything

about any bribes to Singer, test takers, or USC officials. Similarly, there is nothing to suggest Mr.

Haden was aware of any of Singer’s or his clients’ misrepresentations relating to the athletic

abilities of any applicant in order to facilitate their admission to USC. Additionally, there is no

evidence that Mr. Haden has any knowledge of defendant Wilson’s purported tax fraud.

       Defendant Abdelaziz’s role in the conspiracy allegedly began in the summer of 2017 (one

year after Mr. Haden’s tenure as athletic director). Fourth Superseding Indictment (“FSI”)

at ¶ 114. Defendant Abdelaziz allegedly paid Singer $300,000 to facilitate his daughter’s

admission to USC as a purported basketball recruit and misrepresented her athletic

accomplishments. FSI at ¶¶ 114, 117. The government alleges that defendant Abdelaziz’s

daughter did not even make her high school’s varsity team. Gov. Mot. in Limine to Preclude

Irrelevant Evidence at 3 (“Gov. Mot. in Limine”). Once admitted, defendant Abdelaziz allegedly

agreed to have his daughter fake an injury that purportedly rendered her unable to play. FSI at

¶ 122. According to the indictment, the admission’s process at USC for defendant Abdelaziz’s

daughter took place from approximately October of 2017 to March of 2018, well after Mr. Haden’s

tenure as athletic director ended. Id. at ¶¶ 118-20.

       Defendant Palatella allegedly agreed to pay Singer $500,000 to facilitate her son’s

admission to USC as a football recruit. FSI at ¶ 210. Defendant Palatella purportedly sent Singer

pictures for a fraudulent athletic profile for her son, who was not even on his high school’s varsity

football team. Gov. Mot. in Limine at 3. Similar to the allegations against defendant Abdelaziz,




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the charges claim that the admissions process at USC for defendant Palatella’s son took place well

after Mr. Haden left USC, this time from November 2017 to May 2018.

        Defendant Wilson allegedly agreed to pay Singer a total of $220,000 to facilitate his son’s

admission to USC in 2013 and his twin daughters’ admission into Harvard and Stanford in 2018.

FSI at ¶ 225.1 In both scenarios, defendant Wilson purportedly misrepresented the athletic abilities

of his children. Singer, defendant Wilson, and USC’s former water polo coach allegedly falsified

awards and athletic accomplishments of his son so that USC would consider accepting him as part

of the team. FSI at ¶¶ 227-33.

II.    DEFENDANTS’ SUBPOENA

        On August 10, 2021, defendants served Mr. Haden with a subpoena purporting to

command Mr. Haden’s appearance to testify on September 13, 2021. During the meet and confer

process, defense counsel did not dispute that Mr. Haden was not involved in and had no knowledge

of the admission process for any of the defendants’ children to USC. Indeed, defense counsel did

not dispute that Mr. Haden has no connection to the factual allegations in the indictment

whatsoever. Defense counsel proffered that they are seeking to elicit testimony from Mr. Haden

regarding “issues on fundraising” but were “not equipped to discuss” any specifics of his purported

testimony because they had yet to create Mr. Haden’s “cross examination outline.” Of course, as

the subpoenaing parties, they are not seeking to cross examine Mr. Haden.

III.




1
  Because Mr. Haden has never held a position at Harvard or Stanford, it is unclear how defendants could cobble
together even a colorable argument for how there would be a basis to call Mr. Haden with respect to Mr. Wilson’s
twin daughters’ admissions process. Accordingly, this Motion does not focus on those allegations.


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                                         Legal Standard

       “Intervention is appropriate as of right when the disposition of an action may impair or

impede the applicant’s cognizable interest.” In re Grand Jury Subpoena, 274 F.3d 563, 570 (1st

Cir. 2001) (citations omitted). Mr. Haden’s interest in quashing the subpoena will not be

adequately represented by either party in this criminal case. As of this filing, the defendants are

refusing to withdraw the subpoena and the government is taking no position. While the defendants

objected to Mr. Haden’s request to intervene, the government has assented to it.

       Subpoenas seeking testimony for use in a criminal trial are governed by Federal Rule

of Criminal Procedure 17. See also Bowman Dairy Co. v. United States, 341 U.S. 214, 220 (1951).

The proponent of a Rule 17 subpoena must demonstrate “(1) relevancy; (2) admissibility; [and]

(3) specificity,” as well as “that the application is made in good faith and is not intended as a

general fishing expedition.” United States v. Nixon, 418 U.S. 683, 700 (1974) (quotations

omitted); see also United States v. Khan, No. 06-CR-255 (DLI), 2009 WL 152582, at *2 (E.D.N.Y.




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Jan. 20, 2009) (applying the Nixon test to several subpoenas for trial testimony). Although Rule

17(a) does not prescribe a procedure for quashing witness subpoenas, “courts routinely have

entertained motions seeking such relief and decided them by reference to comparable

principles.” Stern v. U.S. Dist. Ct., 214 F.3d 4, 17 (1st Cir. 2000).

       Pursuant to Federal Rule of Criminal Procedure 17(c)(2), “the court may quash or modify

[a] subpoena if compliance would be unreasonable or oppressive.” See, e.g., United States v.

Henry, 482 F.3d 27, 30-31 (1st Cir. 2007) (affirming trial court’s decision to quash subpoenas

pursuant to Fed. R. Crim. P. 17(c)(2)); United States v. Bergeson, 425 F.3d 1221, 1227-28 (9th

Cir. 2005) (upholding district court order quashing subpoena for testimony pursuant to Fed. R.

Crim. P. 17(c)(2)).

                                             Argument

I.   DEFENDANTS’ SUBPOENA SEEKS IRRELEVANT TESTIMONY

       Defendants have not and cannot meet their burden of showing that Mr. Haden’s testimony

is relevant. Mr. Haden believes that defendants must concede that he has no knowledge of the

specific allegations against them. Indeed, his tenure as athletic director concluded prior to the

admissions process for the children of two of the three defendants. Only defendant Wilson

purportedly committed bribery and fraud while Mr. Haden was athletic director—the rest did so

afterward. There is nothing indicating that Mr. Haden knew anything about defendant Wilson’s

alleged payments to Singer, misrepresentations of his son’s athletic ability, or money laundering.

       Evidence is relevant only “if it has any tendency to make a fact more or less probable” and

“the fact is of consequence.” Fed. R. Evid. 401. Therefore, courts consider “the relationship of

the evidence sought to be admitted to the elements of the offense and to relevant defenses.” United

States v. Smith, 940 F.2d 710, 713 (1st Cir. 1991).




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         Here, defendants only proffered during the meet and confer process that they are seeking

Mr. Haden’s testimony concerning “issues on fundraising.” Defendants presumably intend to

elicit Mr. Haden’s testimony pertaining to USC’s athletic department’s fundraising initiatives,

specifically in an attempt to show that “receiving money for preferential admissions treatment was

common practice at USC,” which “will corroborate Defendants’ statements that they had a good-

faith basis for believing Rick Singer when he told them that the practice was legitimate . . . ”2

Defendants’ Motion For an Order Of Witness Immunity at 3-4.

         Defendants’ argument fails for several reasons. First, whether or not USC gave preferential

treatment to donors has no bearing on the allegations in the case. The charges against defendants

are not based on the premise that these defendants committed crimes by simply donating money

to USC. Instead, the government alleges that defendants committed fraud, bribery, and money

laundering in lying about their children’s athletic abilities and paying Singer, proctors, test takers,

and school officials. The defense does not and cannot allege that Mr. Haden could help them

establish a good faith defense to such allegations. There is simply no probative value to Mr.

Haden’s testimony.

         Second, even if the donating money in exchange for preferential treatment is somehow the

same as committing bribery and lying to gain admission, defendants cannot contest their guilt by

proving that others committed crimes as well. United States v. Sans, 731 F.2d 1521, 1530 (11th

Cir. 1984) (“Whether the [defendants] knew that other[s] . . . disobeyed the law was not relevant

to whether [defendants] acted knowingly . . . .”).




2
  Mr. Haden notes the corroboration they seek is of “Defendant’s statements.” Accordingly, even if the Court were
to find a sliver of possible relevance to the potential testimony, the issue becomes moot if the defendants do not elect
to testify, as there would be nothing to corroborate.



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        Third, to the extent that defendants seek to argue to the jury that USC’s admissions process

is arbitrary or unfair, this is not a defense. United States v. June, No. 10-CR-30021-MAP, 2012

WL 245243, at *2 (D. Mass. Jan 25, 2012); United States v. Callipari, 368 F.3d 22, 36 (1st Cir.

2004), vacated on other grounds, 543 U.S. 1098 (2005).

        Indeed, these are the same defense arguments the government seeks to preclude in its

Motion in Limine to Preclude Irrelevant Evidence. Should the Court grant the government’s

Motion in Limine, defendants will not even have a colorable argument of relevancy.3 Even if the

Court, however, were to allow the defense to introduce some evidence of other parents committing

similar fraud or bribery to gain admission for their child at USC, Mr. Haden’s testimony is still

irrelevant. There is no allegation that he was aware of any bribery or fraud scheme, even outside

of defendants’ conduct. Accordingly, Mr. Haden’s testimony is irrelevant, as it will not make any

fact relevant to the essential charges or defenses more or less probable. See United States v.

Manghis, 2010 WL 349583, at *1 (D. Mass. Jan. 22, 2010) (“it seems self-evident that [the

defendant] should not be allowed to compel the appearance of a witness whose testimony would

be irrelevant”).

II.    DEFENDANTS’ SUBPOENA UNDULY BURDENS MR. HADEN

        Even if Mr. Haden did possess some relevant information—and he does not—appearing to

testify imposes an impermissible burden on him. Under FRCP 45,4 “[a] party or an attorney

responsible for the issuance and service of a subpoena shall take reasonable steps to avoid

imposing undue burden or expense on a person subject to that subpoena.” Fed. R. Civ. P. 45(c)(1).


3
  In the interest of judicial efficiency, Mr. Haden joins in and incorporates all of the arguments set forth in
Government’s Motion In Limine To Preclude Irrelevant Evidence Concerning Uncharged Third Parties, which was
filed on July 31, 2021.
4
 In evaluating whether to enforce a witness subpoena pursuant to Federal Rule of Criminal Procedure 17, looking to
precedent under Federal Rule of Civil Procedure 45 is advantageous, since the two are “substantially the same.” See
Advisory Committee Notes, 1944 Adoption of Rule 17.


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“[T]he test for ‘undue burden’ is a balancing test that pits the need of the party for the sought

[testimony] against the interests of the subpoenaed witness in resisting compliance.” See 9 James

Wm. Moore et al., Moore’s Federal Practice § 45.32 (3d ed. 2007); see also Behrend v. Comcast

Corp., 248 F.R.D. 84, 85–86 (D. Mass. 2008) (citations omitted). As to the nature of the undue

burden on a witness for complying with a subpoena, a witness must show there would be “a clearly

defined and serious injury.” United States v. Massimino, 368 F. Supp. 3d 852, 855 (E.D. Pa. 2019).

Importantly, the unwanted burden imposed on non-parties is entitled to “special weight” in

performing this balancing test. Cusumano v. Microsoft Corp., 162 F.3d 708, 717 (1st Cir. 1998).




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        The unwanted burden and hardship to Mr. Haden in complying with defendants’ subpoena

could not be clearer and, given Mr. Haden’s age                                    , should be given

particular weight by this Court. United States v. Klubock, 639 F. Supp. 117, 123 (D. Mass. 1986),

aff’d, 832 F.2d 649 (1st Cir. 1987), on reh'g, 832 F.2d 664 (1st Cir. 1987) (“courts have repeatedly,

when the interests of justice have so warranted, heard and granted (and denied) motions to quash

subpoenas to compel testimony.”). To the extent that there is any potential relevance to the general

fundraising practice of USC, other potential witnesses without                             could be

subpoenaed by the defense. This is especially true given that Mr. Haden’s tenure as USC’s athletic

director ended in 2016 and the vast majority of the allegations against these defendants arose in

2017.

        Accordingly, when Defendants’ nonexistent or tenuous interest in enforcing the subpoena

is weighed against Mr. Haden’s                         , the balance favors Mr. Haden.

                                            Conclusion

        For all the foregoing reasons, Mr. Haden respectfully requests that this Court allow Mr.

Haden to intervene in this matter and asks the Court to quash Defendants’ subpoena commanding

Mr. Haden’s appearance to testify on September 13, 2021.



 Dated: August 17, 2021                                 Respectfully submitted,


                                                        /s/ William J. Lovett
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                                                     /s/ Brandon D. Fox
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                            LOCAL RULE 7.1 CERTIFICATION


        I, Brandon D. Fox, certify that I conferred with AUSA Stephen Frank who takes no
position on this motion. I further certified that I conferred with counsel for the defendants
Gamal Abdelaziz, John Wilson and Marci Palatella who oppose this motion.

                                                     /s/ Brandon D. Fox


                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the NEF and paper copies will be sent
to those indicated as non-registered participants on August 17, 2021.


                                                     /s/ William J. Lovett




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